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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

  GODO KAISHA IP BRIDGE 1,                       §
                                                 §
                Plaintiff,                       §
                                                 §
  v.                                             §   CIVIL ACTION NO.           2:21-CV-00213-JRG
                                                 §   (LEAD CASE)
  TELEFONAKTIEBOLAGET LM                         §
  ERICSSON, ERICSSON, INC.,                      §
                                                 §
                Defendants.                      §
                                                 §
  v.                                             §   CIVIL ACTION NO.           2:21-CV-00215-JRG
                                                 §   (MEMBER CASE)
  NOKIA CORPORATION, NOKIA                       §
  SOLUTIONS AND NETWORK OY,                      §
  NOKIA OF AMERICA CORPORATION,                  §
                                                 §
                Defendants.                      §
                                                 §

                                             ORDER

        Before the Court is Defendants Telefonaktiebolaget LM Ericsson and Ericsson Inc.’s

 (together, “Ericsson”) Unopposed Partial Motion to Dismiss Allegations Related to the ʼ546, ʼ275,

 and ʼ594 Patents (the “Motion”). (Dkt. No. 91). In the Motion, Ericsson requests that the Court

 dismiss Plaintiff Godo Kaisha IP Bridge 1’s (“IP Bridge”) claims of infringement as to U.S. Patent

 Nos. 8,526,546, 8,787,275, and 8,077,594 (collectively, the “Dropped Patents”). Ericsson notes

 that IP Bridge does not oppose the Motion. Finally, Ericsson requests that the Court dismiss its

 counterclaims related to the Dropped Patents.

        Having considered the Motion, and noting that it is unopposed, the Court finds that it

 should be and hereby is GRANTED. Accordingly, the Court ORDERS that IP Bridge’s claims

 related to the Dropped Patents against Ericsson—such as IP Bridge’s Second, Fourth, and Sixth
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     .


 causes of action in its original complaint—are DISMISSED WITH PREJUDICE. Further, the

 Court ORDERS that Ericsson’s Second, Fourth, and Sixth counterclaims are DISMISSED

 WITHOUT PREJUDICE.

         The Clerk of the Court is directed to MAINTAIN AS OPEN the above-captioned matter

 as parties and claims remain.

         So ORDERED and SIGNED this 8th day of April, 2022.




                                                      ____________________________________
                                                      RODNEY GILSTRAP
                                                      UNITED STATES DISTRICT JUDGE




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